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                       IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                                    DISTRICT OF DELAWARE

IN THE MATTER OF:                                                                CASE NO. 20-11413

LVI INTERMEDIATE HOLDINGS, INC

    DEBTOR                                                                       CHAPTER 11

                                 NOTICE OF APPEARANCE
                                          AND
                  REQUEST FOR SERVICE OF NOTICES AND OTHER DOCUMENTS


      Notice is hereby given that Tara LeDay, of McCreary, Veselka, Bragg & Allen, P.C., P. O. Box 1269,
Round Rock, Texas 78680, will appear as counsel for The County of Williamson, Texas, in the above-entitled
case, and requests that service of notices and other documents be made upon this attorney of record.

Dated: June 11, 2020

                                                       Respectfully submitted,

                                                        MCCREARY, VESELKA, BRAGG & ALLEN, P.C.
                                                        Attorneys for Claimant, The County of Williamson,
                                                        Texas

                                                        /s/Tara LeDay
                                                        Tara LeDay
                                                        State Bar Number 24106701
                                                        P.O. Box 1269
                                                        Round Rock, Texas 78680
                                                        Telephone: (512) 323-3200
                                                        Fax: (512) 323-3205
                                                        Email: tleday@mvbalaw.com


                                       CERTIFICATE OF SERVICE

   I hereby certify that I have placed a copy of the above Notice of Appearance And Request For Service Of
Notices And Other Documents to G. David Dean, Cole Schotz P.C., 500 Delaware Avenue, Suite 1410,
Wilmington, Delaware 19801; Krista K. Kulp, Cole Schotz P.C., 25 Main Street, Hackensack, New Jersey
07601; Matteo Percontino, Cole Schotz P.C, 25 Main Street, Hackensack, New Jersey 07601; Norman L.
Pernick, Cole Schotz P.C., 500 Delaware Avenue, Suite 1410, Wilmington, Delaware 19801; Mark Tsukerman,
Cole Schotz P.C., 1325 Avenue of the Americas, 19th Floor, New York, New York 10019; Richard L.
Schepacarter, Office of the United States Trustee, U. S. Department of Justice 844 King Street, Suite 2207
Lockbox #35, Wilmington, Delaware 19801; Transcriber, EScribers LLC, 352 Seventh Avenue Suite #604,
New York, New York 10001, and to those parties listed on the Court’s Notice of Electronic Filing on June 11,
2020, by Electronic Notification or First Class U.S. Mail.

                                                    /s/Tara LeDay
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                        Tara LeDay
